Case 2:10-md-02179-CJB-DPC Document 8963-33 Filed 03/20/13 Page 1 of 3




                     Exhibit 16
           Case 2:10-md-02179-CJB-DPC Document 8963-33 Filed 03/20/13 Page 2 of 3


Douglas, Charles W
Subject:              RE: Judge Barbier Email re Review of Issue from Panel (Matching of Revenue and
                      Expenses)


From: Carl_Barbier@laed.uscourts.gov<mailto:Carl_Barbier@laed.uscourts.gov>
Date: February 6, 2013, 4:36:51 PM CST
To: richard.godfrey@kirkland.com<mailto:richard.godfrey@kirkland.com>,
Mark.Holstein@bp.com<mailto:Mark.Holstein@bp.com>,
jimr@wrightroy.com<mailto:jimr@wrightroy.com>, Steve Herman
<SHERMAN@hhkc.com<mailto:SHERMAN@hhkc.com>>,
pjuneau@dheclaims.com<mailto:pjuneau@dheclaims.com>, Michael Juneau
<mjuneau@dheclaims.com<mailto:mjuneau@dheclaims.com>>
Cc: Ben_Allums@laed.uscourts.gov<mailto:Ben_Allums@laed.uscourts.gov>,
Sally_Shushan@laed.uscourts.gov<mailto:Sally_Shushan@laed.uscourts.gov>,
Mike_OKeefe@laed.uscourts.gov<mailto:Mike_OKeefe@laed.uscourts.gov>,
balhoff@pabmb.com<mailto:balhoff@pabmb.com>
Subject: Review of Issue from Panel (Matching of Revenue and Expenses)


Gentlemen:

The Court received a request from BP's counsel to reconsider its decision
of January 30, 2013, concerning matching revenue and expenses under the
Business Economic Loss portion of the Economic and Property Damages
Settlement. On Wednesday, February 6, 2013, the Court met in chambers with
Richard Godfrey and Mark Holstein on behalf of BP, Steve Herman and Jim Roy
on behalf of the Class, and Pat Juneau and Mike Juneau on behalf of the
Claims Administrator. The Court has decided to reconsider its prior
decision. Accordingly, the Court vacates its prior decision memorialized
in an e-mail dated January 30, 2013. The Court orders BP and Class Counsel
to mediation regarding this issue, and to report to the Court by February
20, 2013. The Court appoints Dan Balhof as mediator. The parties should
immediately contact Mr. Balhof and provide him with any written materials
that may be necessary.

Thank you for your cooperation,

Carl Barbier




Jeffrey Lennard
SNR Denton US LLP
D +1 312 876 8152
M +1 312 213 1574
jeffrey.lennard@snrdenton.com<mailto:jeffrey.lennard@snrdenton.com>
snrdenton.com<http://www.snrdenton.com>


[http://www.snrdentoncreative.com/reference/SNR_Denton.gif]
233 South Wacker Drive
Suite 7800
Chicago, IL 60606-6306
                                                    1
        Case 2:10-md-02179-CJB-DPC Document 8963-33 Filed 03/20/13 Page 3 of 3




For more information on our pending combination, please visit
www.dentonscombination.com<http://www.dentonscombination.com>

________________________________
SNR Denton is the collective trade name for an international legal practice. This email may
be confidential and protected by legal privilege. If you are not the intended recipient,
disclosure, copying, distribution and use are prohibited; please notify us immediately and
delete this copy from your system. Please see snrdenton.com for Legal Notices, including IRS
Circular 230 Notice.
________________________________


_____________________________
U.S. Treasury Circular 230 Notice

Any U.S. federal tax advice included in this communication (including any attachments) was
not intended or written to be used, and cannot be used, for the purpose of (i) avoiding U.S.
federal tax-related penalties or (ii) promoting, marketing or recommending to another party
any tax-related matter addressed herein.

_____________________________

This communication may contain information that is legally privileged, confidential or exempt
from disclosure. If you are not the intended recipient, please note that any dissemination,
distribution, or copying of this communication is strictly prohibited. Anyone who receives
this message in error should notify the sender immediately by telephone or by return e-mail
and delete it from his or her computer.

----------------------------------------------------------------------
For more information about Arnold & Porter LLP, click here :
http://www.arnoldporter.com




                                              2
